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                  UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

 MINA SHEKEY,                                 Case No.
       Plaintiff,
 v.

 TRANS UNION, LLC,
       Defendant.

                                  COMPLAINT

             NOW COMES Plaintiff, MINA SHEKEY (“Plaintiff”), by and

through her attorneys, hereby alleging the following against Defendant TRANS

UNION, LLC. (“TRANS UNION”).

                               Nature of the Action

      1.     This action arises pursuant to the Fair Credit Reporting Act (“FCRA”),

15 U.S.C. § 1681 et seq.

                                      Parties

      2.     Plaintiff is a natural person at all times relevant residing in Polk

County, in the City of Lakeland, in the State of Florida.

      3.     At all times relevant, Plaintiff was a “consumer” as that term is defined

by 15 U.S.C. § 1681(a)(c).

      4.     Defendant TRANS UNION is a corporation conducting business in the

State of Florida and is headquartered in Chicago, Illinois.
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       5.    Defendant TRANS UNION is a “person” as that term is defined by a

consumer reporting agency as that term is defined 15 U.S.C. § 1681a(b).

       6.    Defendant TRANS UNION is regularly engaged in the business of

assembling, evaluating, and disbursing information concerning consumers for the

purpose of furnishing consumer reports, as defined in 15 U.S.C. §1681(d), to third

parties.

       7.    Defendant TRANS UNION furnishes such consumer reports to third

parties under contract for monetary compensation.

       8.    Defendant TRANS UNION is a “consumer reporting agency”

(“CRAs”) as that term is described in 15 U.S.C. § 1681a(f).

       9.    At all times relevant to this Complaint, Defendant acted through its

agents, employees, officers, members, directors, heir, successors, assigns,

principals, trustees, sureties, subrogees, representatives and insurers.

                              Jurisdiction and Venue

       10.   Jurisdiction of this Court arises under 15 U.S.C. § 1681p and 28 U.S.C.

§ 1331.

       11.   Venue is proper pursuant to 28 U.S.C § 1391(b) as the conduct giving

rise to this action occurred in this District because Plaintiff resides within this

District and a substantial part of the events or omissions giving rise to the herein


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claims occurred, or a substantial part of property that is the subject of the action is

situated within this District.



                                 Factual Allegations

      12.    Plaintiff is a consumer who is the victim of inaccurate reporting by

TRANS UNION, and has suffered particularized and concrete harm in the form of

loss of credit, defamation, and loss of reputation.

      13.    CRAs, including TRANS UNION have a duty under the FCRA to

follow reasonable procedures to ensure that the consumer reports they sell meet the

standard of “maximum possible accuracy.” 15 U.S.C. §1681(e)(B).

      14.    On or about January 25, 2024, Plaintiff and FIRST PREMIER BANK

settled an account ending in 1795 (“Account”) for five hundred three dollars and

five cents ($503.05).

      15.    Plaintiff made a single payment of five hundred three dollars and five

cents ($503.05) on or about February 9, 2024 pursuant to the agreement and satisfied

the settlement terms.

                         Facts Relevant to TRANS UNION

      16.    On May 20, 2024, Plaintiff received a copy of her credit report from

TRANS UNION.


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       17.     To her surprise, despite Plaintiff’s performance under the terms of the

agreement, Defendant TRANS UNION reported incorrect information regarding

the Account.

       18.     Specifically, TRANS UNION reported the Account as “Charged Off.”

This status was inaccurate because both Plaintiff and CAPITAL ONE agreed to a

payment plan to satisfy the outstanding debt and Plaintiff had met every obligation

under the agreement.

       19.     Further, TRANS UNION failed to report any the payment Plaintiff had

made under the terms of the agreement.

       20.     Additionally, TRANS UNION reported the Account with an incorrect

status of “Charged Off” and with a balance being owed of five hundred three dollars

($503.00).

       21.     TRANS UNION’s failure to report the Account correctly and failure

to report the agreement between Plaintiff and FIRST PREMIER BANK and failure

to report the payment Plaintiff made during the course of the agreement harmed

Plaintiff’s credit score and would, at the least, mislead any third-party reviewing

Plaintiff’s credit history.

       22.     On May 20, 2024, Plaintiff issued a dispute to TRANS UNION

regarding the incorrect information being reported on the Account.


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      23.      Specifically, Plaintiff disputed the incorrect entry in her credit report

that the Account was in a “Charged Off” status and that any balance was owed on

the Account.

      24.      Further, Plaintiff included proof of the settlement and payments made

to CAPITAL ONE with her dispute letter.

      25.      Her dispute letter was delivered on or about May 24, 2024.

      26.      However, despite having received the letter and accompanying proof

of payment, TRANS UNION continued to report the Account as having a current

status of “Charge Off” and a balance owed of $503.00.

      27.      This status is inaccurate and, at the least, misleading as FIRST

PREMIER BANK has received all payments pursuant to the settlement agreement

and could not consider the status as being “Charge[d] Off.”

                             COUNT I – TRANS UNION
          Violation of the Fair Credit Reporting Act – 15 U.S.C. § 1681e(b)

      28.      Plaintiff repeats and incorporates by reference into this cause of action

the allegations set forth above at Paragraphs 1-27.

      29.      After receiving Plaintiff’s dispute, TRANS UNION failed to correct

the false information regarding the Account reporting on Plaintiff’s consumer

report.



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      30.    TRANS UNION violated 15 U.S.C. §1681e(b) by failing to establish

or to follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit report(s) and credit file(s) that TRANS UNION published

and maintained concerning Plaintiff.

      31.    As a result of this conduct, action and inaction of TRANS UNION,

Plaintiff suffered damage, and continues to suffer, actual damages, including

economic loss, damage to reputation, emotional distress, and interference with

Plaintiff’s normal and usual activities for which Plaintiff seeks damages in an

amount to be determined by the trier of fact.

      32.    TRANS UNION’s conduct, action, and inaction was willful, rendering

Defendant TRANS UNION liable to Plaintiff for punitive damages pursuant to 15

U.S.C. §1681n.

      33.    In the alternative, TRANS UNION was negligent, entitling Plaintiff to

recover damages under 15 U.S.C. §1681o.

      34.    Plaintiff is entitled to recover costs and attorneys’ fees from TRANS

UNION, pursuant to 15 U.S.C. §1681n and/or §1681o.

                          COUNT II – TRANS UNION
         Violation of the Fair Credit Reporting Act – 15 U.S.C. § 1681i

      35.    Plaintiff repeats and incorporates by reference into this cause of action

the allegations set forth above at Paragraphs 1-27.
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       36.    After receiving Plaintiff’s dispute, TRANS UNION failed to correct

the false information regarding the Account reporting on Plaintiff’s consumer

report.

       37.    Defendant TRANS UNION violated 15 U.S.C. §1681i by failing to

delete inaccurate information in Plaintiff’s credit files after receiving actual notice

of such inaccuracies, by failing to conduct lawful reinvestigations, and by failing to

maintain reasonable procedures with which to filter and verify disputed information

in Plaintiff’s credit files.

       38.    As a result of this conduct, action and inaction of TRANS UNION,

Plaintiff suffered damage, and continues to suffer, actual damages, including

economic loss, damage to reputation, emotional distress and interference with

Plaintiff’s normal and usual activities for which Plaintiff seeks damages in an

amount to be determined by the trier of fact.

       39.    TRANS UNION’s conduct, action, and inaction were willful,

rendering Defendant liable to Plaintiff for punitive damages pursuant to 15 U.S.C.

§1681n.

       40.    In the alternative, Defendant TRANS UNION was negligent, entitling

Plaintiff to recover damages under 15 U.S.C. §1681o.




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      41.   Plaintiff is entitled to recover costs and attorneys’ fees from Defendant

TRANS UNION pursuant to 15 U.S.C. §1681n and/or §1681o.



                                 Prayer For Relief

      WHEREFORE, Plaintiff respectfully requests judgment be entered against

Defendants for negligent or willful noncompliance with the Fair Credit Reporting

Act and prays for the following:

   a) Actual damages to be proven at trial, or statutory damages pursuant to 15

      U.S.C. § 1681n(a)(1)(A), of not less than $100 and not more than $1,000 per

      violation;

   b) Punitive damages, pursuant 15 U.S.C. § 1681n(a)(2), for Defendant’s willful

      violation;

   c) The costs of instituting this action together with reasonable attorney’s fees

      incurred by Plaintiff pursuant to 15 U.S.C. § 1681n(a)(3); and

   d) Any further legal and equitable relief as the court may deem just and proper

      in the circumstances.

                              JURY TRIAL DEMAND

      Plaintiff demands a jury trial on all issues so triable.




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                             Respectfully submitted,

Dated: 1/21/2025             By:   /s/ Jason S. Weiss
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